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SOUTHERN DISTRICT OF NEW YORK

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DINO ANTOLINI,
Plaintiff,
ORDER
-against-
19 Civ. 9038 (GBD)
AMY MCCLOSKEY et al.,
Defendants.

GEORGE B. DANIELS, United States District Judge:

The March 26, 2020 conference is adjourned to May 28, 2020 at 9:30 a.m.

Dated: New York, New York SO ORDERED.

March 24, 2020

G Roe. DANIELS
ited States District Judge

  
 

 

 
